CaSe 1-17-46069-nh| DOC 18 Filed 12/01/17 Entered 12/01/17 10253239

Fi|l in this information to identify your case and this filing:

 

amos D£,iim`~& i\itiit

 

 

Fil'Si N¢'SlTlC Mtiidi° NS|T\E ‘ 1331 NilFl'lE

Debtor 2

(Spouse, if filing) FirsiName Middla Nams LastName

United States Bankruptcy Couri for thei Easiel'n DiStriCt Of NEW YOrk
17-

Case number

 

Cl Check ifthis is an
amended ming

 

Official Form 106A/B
Schedule AIB: Property 12115

|n each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. |f two married people are filing together, both are equally
responsible for supplying correct information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

mscribe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

El No. Go to Part 2.
g Yes. Where is the property?

what ls the property? Check all that apply Do not deduct secured claims or exemptions Put
m Slngle-family horne the amount of any secured claims on Schedule D:

1_1_ 224 Bergen Street creditors who Have craims secured by Property

Street addressl if available or other description g Dup|ex m mum"umt bu||dmg

 

 

 

 

 

 

 

m C‘mdom"nlum Or COOP€FS“"'€ Current value of the Current value of the
n Manufactured or mobile home entire property? portion you own?
El Land 3,597,680.00 3,597,680.00
$ $
ij |nvestment property
Brook|yn NY 1121 7 E| rimeshare Descrlbe the nature of your ownership
Ciiy State ZlP Code m Oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.
' ' ') .
Who has an interest m the property. Check one. Fee Slmp|e
Kings g Debtort only
County n Debtor 2 only
n Check if this is community propert
Debtor 1 and Deblor 2 only y

See `nslruct`o
ii At least one of the debtors and another ( l l ns)

Other information you wish to add about this item, such as local
property identification number: BE| §§-§!{!§§§Z-§i§fz§
lf you own or have more than one, list here:

when ls the prope"y? Check an that app’y' Do not deduct secured claims or exemptions Put

 

 

 

 

cl Slngle-farnily horne the amount of any secured claims on Schedule D:
1_2_ n l _ n n Dup|ex m muni_unit building Cradrtors Who Have Claims $ecured by Property.
Street address if availablel or other description ` _ _ ' """ ' ' " ' '
n CDf`ldOmfnlum Clr COOD€FBNV€ Current value of the Current value of the
i;i Nlanufactured or mobile home entire Pr°Peny? P°ni°" you °W"?
n Land $ 5
m investment property
_ n Timeshare Descrlbe the nature of your ownership
City State ZiP Code m interest (such as fee simple, tenancy by
OThEF the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one
a Debtor 1 only
n Debtor 2 only

n Debtor 1 and Debtor 2 only m Check if this is community property
El At least one of the debtors and another {See instructions)

 

 

County

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedu|e AJ'B: Property page 1

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\D@l'utl§ . mt mci

Case number tirimowni 17"

 

 

 

 

 

 

 

 

 

 

 

Debtor 1
Firai Name Middle Nama ' LastName \
Wiiai is the P"°Pei'iV? Check ali ih'°‘i aPDiV- Do not deduct secured claims or exemptionsl Put
- _ - the amount of any secured claims on Scheduie D:
1.3. n S'"g'e ia""'y home _ creditors Who rlan claims ceased by Pmpeny.
Street address if available or other description i;i Dupie)c or multi-unil building ~ ' - » ~ ~ - l . .
|'_'| Condominium ar Cogperative Current value of the Current value of the
n Manutactured or mobite home entire propeny? portion you own?
m l_and $ $
i:i investment property
my State Z|P 0ng n Timeshare Describe the nature of your ownership
interest (such as fee simp|e, tenancy by
in Oih€"' the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
n Debtor 1 only
Coumy i;l Debtor 2 only
i;l Debtor 1 and Debtor 2 only n che¢_k ii iiii_S is communiiy Property
a Al least one of the debtors and another (See instructions)
Oti~ier information you wish to add about this item, such as local
property identification number:
2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 3,597,680_00
you have attached for Part 1. Write that number here. ...................................................................................... ') " _ "_

 

 

 

Descrihe Your Vehlcles

Do you own, lease. or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives |f you lease a vehicle, also report it on Schodule G: Executory Contracts and Unexpired Leases.

3. Cars. vans, trucks, tractors, sport utility vehicles, motorcycles

g No
m Yes
3_1, Make: Wi"° has an interest i" the Pi'°Pe"i¥? Check O"H- Do not deduct secured claims or exemptions Put
the amount ot any secured claims on Sch`edule D:
lVlOdel: n Debtor 1 On|y Credr`tors Who Have Claims Secunad by Property
_ i:lDebtor2only . t _ . -
Year. Current value of the Current value of the

Approximate mileage

 

Other information:

 

if you own or have more than one, describe here:

3'2_ i\llake:
Nlode|:
‘l'ear:
Approxirnate mileage:

Ottier information:

Ot‘licial Form 106A/B

cl Debtor 1 and Debtor 2 only
i:i Al least one of the debtors and another

Ci check if this is community property (see
instructions)

Who has an interest in the property? Check one.
|:i Debtom only

i;.i Debtor 2 only

a Debior ‘l and Deblor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Schedule A!B: Property

entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedute D:
Credr'tors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

page 2

Case 1-17-46069-nh|

 
 

Debtor 1

First Narne M:tld|e Name

3_3y lVlake:
Nlodel:
Year:
Approxirnate mileage:

Other information:

 
   

 

3_4, Make:
Mode|:
Year:
Approximate mileage

Other information:

Who has an interest in the property? Check one

cl Debtor‘t only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Cl Deblor t only

l;l Debtor 2 only

Cl oeblor 1 and Deblor 2 only

n At least one of the debtors and another

l;l Check if this is community property (see
instructions)

Case number {lrlma»wnl 17

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Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credl'tors Who Have Cl'aims Secur'ed by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'

Credr'tors Who Have Claims Secured by Proper!y.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp»'es: Boats, trailers, motors personal watercraft, fishing vessels snowmobiles, motorcycle accessories

n No
l;l Yes

4_1_ N|ake:
Model:
Year:

Other intormation:

 
 

ll you own or have more than one, list here:
4,2_ lVlal<e:
Model:

Year:

Other information:

 

 

 

Who has an interest irl the property? Check one.
l;l Debtor1 only

m Debtor 2 only

m Debtor 1 and Deblor 2 only

m At least one of the debtors and another

l;l Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
m Debtor‘l only

a Debtor 2 only

l;l Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l] Check if this is community property (see
instructional

Do not deduct secured ctaims or exemptions Put
the amount of any secured claims on Schedule D:
Credifors Who Have C!al'ms. Sel:ureo‘ by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Cl'ar'ms Seco'red by Property

Current value of the Current value of the
entire property? portion you own?

o Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

0.00
you have attached for Part 2. Write that number here ........................................................................................................................ -) $_”

Official Form 106A/B Schedu|e NB: Property page 3

 

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oebiom willing m a V\ Ll 0 ( case number new 17"

51 Name Mlddla reams L§sulama l

m Describe Your Personal and Householcl lterns

Do you own or have any legal or equitable interest in any of the following items? current waive of the

portion you own?
Do not deduct secured claims
or exemptions
6. Househo|d goods and furnishings
Examples: Major appliances, furniture linens, china, kitchenware

UNO .. . ..... 7 7 7 7 .
E Yes_ Describe _________ Misce||aneous, used household goods and furnishings § $ 1,5{){].00 _

 

7. Electronics

Examples: Te|evisions and radios; audio, video, stereo, and digital equipment; computers printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

n No c 7 7 7 7 7 7 7 7 7 7 . .
2 Yes. Describe .......... §Misce||aneous, used television, stereo, computer, cell phone § $ 1,000,00 '

B. Co||ectib|es of value

Exarnples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp. coin, or baseball card collections; other collections memorabi|ia, collectlb|es

 

 

 

 

 

 

 

n No .

E Yes. Describe .......... f |Vlisce||aneous prints (photos), art objects and used books 900.00
9. Equipment for sports and hobbies

Examples.' Sports, photographic, exercise, and other hobby equipment bicycles, pool iables, golf clubs, skis; canoes

and kayal<s; carpentry too|s; musical instruments

ENO , 77 . l . 77 7 77 7. 7777777777 77 y

n Yes. Describe .......... § : $
10. Firearms

Examp!es: Pisto|s, riflesl shotguns, ammunition and related equipment

g No z . l t ., … …M …W . …

a Yes. Describe...... $
11. Clothes

Examples.' Everyday ciothes, furs, leather coats, designer wear, shoes, accessories

n No 7 7777 77 77 7 77 777 7 _

El ves. prescribe .......... Everyday Clothes and shoes $ 600.00
12. Jewelry

Examples: Everydayjewe|ry, costume jewelry, engagement rings, wedding rings, helrloom jewelry, watches, gems,

gc|d, silver
g Y _ - __________ z 100.00
es Descnbe . Me-n-S"wa-tch $ .

 

13. Non-farm animals
Examples; Dogs, cats, birds, horses

2 No t ,, vw h, n mm.. . s
cl ‘r'es. Describe...........` 5

 

ia.Any other personal and household items you did not already |ist, including any health aids you did not list

ENo

\:l Yes. Give specinc
information.

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .................................................................................................................................................... ')

$__‘lJM

 

 

 

 

Officia| Form 'lOGAIB Schedule Al'B: Property page 4

Case 1-17-46069-nh|

`Dekus .llllai'lul

%lName

‘l 7-1

' ‘ CBSE number (irknown)
erlde Name Lasl Name

m Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?` _ _

161Cash

Examples: Money you have in your wailet, in your horne, in a safe deposit box, and on hand when you file your petition

DNo

a Yes ............................

17. Deposits of money

D No
m Yes

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Current vafue of the
portion you own?

Do not deduct secured claims
or exemptions

 

.................................................................................................................................... Cash: $ 100.00
Examples: Checking, savings, or other financial accounts; certiHcates of deposit shares in credit unions, brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.
|nstitution name:
17.1. Checking account o _ . . _
112 _LLH-¢-

 

. Checking account &C{RIMH L OCCGUA il emd{"§) in drle

17.3. Savings account

 

1?.4. Savings account: ,. _ 7_ __..._ ,77 d

 

17.

.U‘

Certificates of deposit

 

7 17.6. Other Hnancia| account;

 

17.

."

Other financial account

 

17.8. Other Hnancia| account:

 

1?.9. Other financial account

 

1a Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
g Yes

institution or issuer name:

MW'$€H€F}€H€§W

 

 

 

19. Non-pub|icly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

No
m Yes. Give specific
information about

them

Otlicia| Form tOBA/B

 

 

Narne of entity: % of ownership:
0% (l
/o
00/0 o/n
0% %

 

Schedule AIB; Property

page 5

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Debtor 1 [Ng {\/\a M u~L( Case number nrlmswn) 1 7"

mama windle Name Lasi Name ‘

_ 20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
n Yes. Give specific |SSU€F namef

information about
them ....................... $

 

 

 

21. Retirement or pension accounts
Examples: interests in |RA, ERlSA, Keogh, 401(|<), 403(b), thrift savings accounls, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a No
a Ves. l_ist each
account separately Type of account institution namet
401(k) or similar plan: $
Pension plan: $
lRA-. $
Retirement account: $
Keogh: $
Additionai account: $
Adclitiona| account 5
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you rnay continue service or use from a company
Examples.' Agreements with landlords prepaid rent, public utilities (e|ectric, gas, water), telecommunications
companiesl or others
a No
n Yes .......................... |nstitulion name or individual:
E|ectric: $
Gas: $
Heating oi|: $
Security deposit on rental unit $
Prepaid rent: $
Teiephone: $
Water: $
Rented furniture: $
Other: $
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
iii No
l;l Yes .......................... lssuer name and description
$
$
$

 

Officia| Form 106A/B Schedule AlB.' Property page 6

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Debtor 1 \DQMMF § Ma a u-L/( Case number prmmi 1 7'
Fl tNama

Mlddie Name Last Name

24. interests in an education |RA. irl an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b}(1).
Nc
n Yes ....................................

institution name and description Separate|y file the records of any interests.‘ll U.S.C. § 521 (c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
ex cisab|e for your benefit

cig::m$;::nsg§:gtcmemwmm/l M[OHAng+/m MOO

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: |nternet domain names, websites, proceeds from royalties and licensing agreements

-No

\;l Yes. Give specific §
information about them....§ l $

68

 

 

27_ Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive |icenses, cooperative association holdings, liquor |icenses, professional licenses

 

g No
n Yes. Give specific :
information about them,,..§ 1 $
Money or property owed to you? ' _ - -- '-_ - - - -_ - _ - _ Current value of the
.. . .. .... ...... pom°qy°uown?
Do not deduct secured
claims or exemptions
2a Tax refunds owed to you
n No m M
El Yes. Give specific information Federal:
about them, including whether
you already filed the returns : State:
and the tax years. ....................... 5
Loca|: $

29. Fami|y support
Examples: Past due or lump sum alimony. spousal support, child support maintenance divorce settlement property settlement

ZNo

l;l Yes. Give specific information...........7. -

 

Alirnony: $
Maintenance: 5
Support: $
Divorce settlement $
§ Property settlement $
30. Other amounts someone owes you
Exarnples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation
Socia| Security benefits; unpaid loans you made to someone else

No

|;l Yes. Give specific information ............... w MWMMWWM m
= § s

Otficia| Form 106A/B Schedu|e AIB: Property page 7

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notion D€)l,'ltii§ … Mrliiiltc Ce.onumi,eiii,,o,,i,ir

Firsl Nama Midd|e Narne Las\ Name

31. interests in insurance policies
Exampies: Hea|th. disability, or life insurance; health savings account (HSA); creditl homeowner`so or renter's insurance

ENo

n Yes. Name the insurance company

Cornpany name: Beneficiary: Surrender or refund value:
of each policy and list its value. ..

 

 

32. Any interest in property that is due you from someone who has died

lf you are the beneficiary of a living trusl, expect proceeds from a life insurance policyo or are currently entitled to receive
property because someone has died.

ENo

n Yes. Give specific information.,o.…,...,. §

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exampies: Accidents, employment disputes, insurance claims, or rights to sue

ENO owwwwwow ,wwwwwwwwwwwo www
n Yes. Descri'be each claim.

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to setoff claims

ENo

n Yes. Describe each claim.

35.Any financial assets you did not already list

g NO oo woo w o _ mow_o
m ¥es. Give specific information..........o.

 

 

 

36. Add the dollar value of all of your entries from Part 4, inciuding any entries for pages you have attached 17 ?5 .
for Part 4. Write that number here .................................................................................................................................................... ') $ - ‘

 

 

m Describe Any Business-Related Property ¥ou Own or Have an lnterest ln. List any real estate in Part 1.

 

3?. Do you own or have any legal or equitable interest in any business-related property?
El No. co to Part 6.
a ¥es. Go to line SB.
Current value of the
portion you own?
Do not deduct secured ctairns

or exemptions
38. Accounts receivable or commissions you already earned
BNG www………wwo o oo wwwww .w
n ‘fes. Describe.…..;
: §$
39. Office equipment furnishings, and supplies
Exampies: Elusiness-re|ated computers software moderns, printers, copiers. fax machines, rugs, telephones desks chairs. electronic devices
[;l No f _ _ _ §§§§§§§§
a Yes. Describe.......§ o . 300.00
;Business-re|ated Computer, cell phone, desk & chair :$

Official Form ‘lOGA/B Schedu|e Ale Property page 8

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Debtor l \-D@MA |S - -- - {V\ & M u»l-'c‘ Case number rirmnwn) 17"

Firsl Name Midcl|e Name l:asi Nama

40. Machinery, t"ixtures, equipment, supplies you use in business, and tools of your trade

uNo

 

EY lD _b ------- §
es esm 8 §Photography equipment §$ 600`00
41.lnventory
El No ~- H~ §
g Yes. Describe.......§F>§,]Ot0 paper § 150.00 ,

42. interests in partnerships orjoint ventures
No
n \"es. Describe.__....

 

 

 

 

Name of entitv: % of ownership:

._e o _ % 5
% $
% $

 

43.Customer listsl mailing |ists, or other compilations
a No
n Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101{41A))?
ill No `_ `_
l;l Yes. Describe..o..... 1

 

44.Any business-related property you did not already iist
52 No

m res. Give specific
information .........

 

 

 

 

 

69€5€6696969

 

 

45 Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ l 0 5 D o 00

for Part 5. Write that number here ')

 

 

 

Descl'ibe Any Farm- and Commercial Fishing-Relatecl Froperty You Own or Have an lnterest ln.
lf you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
g No. Go to Part ?.
n Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions
4?. Farrn animals
Exampies: Livestoct<, poultry, farm-raised fish
cl No
5

orriciai Form iiich scheduie Aie: Property page 9

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center 1 M_n if 8 - - -Ma M U*'El Case number wi~owr) 17" ' ' a

rrst ma Middle Name |.asi Name l

4a Crops-either growing or harvested

 

cl NQ 7 o o o ............. . ooooooooooo
El Yes. Give specific 3 §
information ; $

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n No
UYes ..........................
' 5
50. Farrn and fishing supplies, chemica|s, and feed
l;l No
n yes o _o … w o _____ o .
7 § § 3
51. Any farm- and commercial fishing-related property you did not already list
n No
Cl Yes. Give specific§ §
information ............. $
52. Add the doliar value of all of your entries from Part 6, including any entries for pages you have attached $ D_OO
for Part 6. Write that number here ................................................................................................................................................. 9 ____
Describe All Property You Dwn or Have an lnterest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Exampias.' Season tickets, country club membership
a NO . i ooooo
n `/es. Give specific ;
information............'
54. Add the dollar value of all of your entries from Part T. Write that number here ................................................................. 9 $ 0'00
List the Totals of Each Part of this Form
55.Part 1: Total real estate, line 2 9 $ 3’597’680'00
56. Part 2: Total vehicles, line 5 $ O'OO

$ 4,100.00

57. Part 3: Total personal and household items, iine 15

58. Part 4: Total financial assets, line 36 $ bi§%'bi¢j

59. Part 5: Total business-related property, line 45 $ l105 0 ‘oe
Bo. Part 6: Total farm- and fishing-related property, line 52 $ 0'00
61. Part T: Total other property not |isted, line 54 000

    

63. Total of all property on Schedule AIB. Add line 55 + line 62. .........................................................................................

 

 

Officia| Form ‘lOGA!B Scheduie AlB: Froperl'y page 10

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Fill in this information to identify your case'.

Debtor 1 Denms Mal'luel

F\r\:,l blame Mi{!dle blame Lasl Nal‘l‘le

 

[}ebtor 2
[SDUHSE:. if filing) i»'rrsi Narne Middle Name Lss| Narne

 

United States Bankruptcy Court for the: Eastern District of New York

Case number 17' n Check if this iS art
‘"""OW"’ amended filing

 

 

Official Form 1060
Schedule C: The Property ¥ou Ciaim as Exempt nine

Be as complete and accurate as possible. if two married people are fiiing together, both are equally responsible for supplying correct information
Using the property you listed on Scheduie A/B.' Property (Official Form 106A/B) as your source, list the property that you claim as exerr‘lptl if more
space is needed, nil out and attach to this page as many copies of Part 2: Addr'tr'onal Page as necessary On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternative|y, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions~such as those for health aidsl rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

modify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one cnly. even if your spouse is filing with you.

g You are claiming state and federal nonbankruptcy exemptions 11 U.S.C_ § 522(b}(3)
n You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Scheduie A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

Scheduie A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Scheduie A/B
Brief _
description: 224 Bercten St, 1121 r $3,597,680.00 C| 5
|_ine from E 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
B"e‘ Goocs & Fumishings 1 500 00 g
description‘. $ ' ' $
Line from g 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: BOOKS $900'00 n $
Line from a 100% of fair market valuel up to
Schedule A/B: any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4101!19 and every 3 years after that for cases filed on or after the date of adjustment.)

MNo

l;l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
n No
m Yes

Of'ficiai Form 1060 Schedu|e C: The Property You Claim as Exempt page 1 of_

Case 1-17-46069-nh|

Debtor ‘l

Dennis

DOC 18 Filed 12/01/17 Entered 12/01/17 10253:39

l\/lanuel

 

Frrsl Name

Mrdrle Nam\

m Additiona| Page

Brief description of the property and line
on Schedul'e A)'B that tis\s this property

Briei
description

Line from
Schedule A/B.'
Brief
description:

Line from
Schedule A/B:

Briet
description

Line from
Schedule A/B:

Briel
description

Line from
Schedule A/B:
Brief
description

Line from
Schedule A/B:

Brief
description

Line from
Schedule A/B.'

Briel
description

Llne from
Schedule A/B:

Brief
description

Line from
Scheclule A/B:

Brief
description

Line from
Schedule A/B:

Brief
description

Line from
Schedule A/B:
Brief
description

Llne from
Schedul'e A/B.'

Brief
description

Line from
Scheclule A/B.'

Officia| Form 106€

l.asl Narr\e

Current value of the
portion you own

Case number comm 1?“

Amount of the exemption you claim

Check only one box for each exemption

 

g 100% of fair market value. up to

 

g 100% of fair market valuer up to
any applicable statutory limit

 

g 100% ot fair market value, up to
any applicable statutory limit

 

id 100% of fair market value, up to
any applicable statutory limit

 

g 100% of fair market value, up to
any applicable statutory limit

 

g 100% oftair market value, up to

 

Cl 100% of fair market value, up to

 

g 100% of fair market va|oe, up to

 

 

il 100% of fair market value, up to

 

 

l;l 100% of fair market value, up to

 

 

l;l 100% affair market value up to

Copy the value from
Sclredule A/B
Clothes $ 600.00 g $
_”_ any applicable statutory limit
Jewelrv $ 100.00 L_.l $
Cash $ 100.00 [;| $
Deposits $ m $
Office Equiprnent $ 300.00 g $
lV|achinery $ 600.00 n $
¥ any applicable statutory limit
inventory $ 150.00 \;| 3
""__ any applicable Statutory limit
Partnerships 5 n $
any applicable statutory limit
$ Cl $
__ any applicable statutory limit
$ Ei s
__” any applicable statutory limit
s lZi s
___ any applicable statutory limit
$ lIl sr

 

 

n 100% of fair market value, up lo
any applicable statutory limit

Schedule C: The Property ¥ou C|aim as Exempt

Speciflc taws that atlow exemption

 

 

page 2_ of _

